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                                                                      United States Bankruptcy Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                         December 11, 2024
              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS                        Nathan Ochsner, Clerk

                         HOUSTON DIVISION

IN RE:                                   §
                                         §      CASE NO: 22-33553
ALEXANDER E. JONES,                      §
                                         §
         Debtor.                         §
                                         §
                                         §      CHAPTER 7

ORDER DENYING TRUSTEE’S EXPEDITED MOTION FOR ENTRY OF AN
     ORDER IN FURTHERANCE OF THE SALE OF ASSETS OF
                FREE SPEECH SYSTEMS, LLC
                     (RE: ECF NO. 915)

       The Court denies the Trustee’s Expedited Motion for the reasons stated on
the record at the December 10, 2024 hearing.




             August 02,
             December 11,2019
                          2024
